        Case 2:11-cr-00434-RFB-PAL             Document 158        Filed 02/14/12     Page 1 of 8



 1   CHRIS T. RASMUSSEN, ESQ.
     Nevada Bar 7149
 2
     RASMUSSEN & KANG
 3   330 South 3rd Street, Suite 1010
     Las Vegas, Nevada 89101
 4   (702) 464-6007
 5
 6                                UNITED STATES DISTRICT COURT

 7                                       DISTRICT OF NEVADA
                                                 ***
 8
 9   UNITED STATES OF AMERICA,       )
                                     )
10                   Plaintiff,      )                    2:11-cr-0434-LDG(GWF)
                                     )
11   v.                              )                    PROPOSED COMPLEX CASE
12                                   )                    SCHEDULE PURSUANT TO
     EDUARD PETROIU, et al.,         )                    LCR 16-1(a)
13                                   )
                     Defendant.      )
14   ________________________________)
15
16
           Pursuant to Local Rule 16-1(a)(1) and (2), counsel for the United States, Timothy
17
     Vasquez, Assistant United States Attorney, and all undersigned counsel for
18
19   Defendants, file this proposed Complex Case Schedule and seek an Order “fixing the

20   schedule for discovery and pretrial motions”. LCR 16-1(a)(1)-(a)(4).1
21                       THE CASE HAS BEEN DESIGNATED AS COMPLEX
22
           The Court heard arguments on January 24, 2012, and granted Defendant Vales
23
     Motion to Designate [121] [141] respectively.
24
                              PROPOSED COMPLEX CASE SCHEDULE
25
26         1.        Trial Date(s):

27
28         1
               Defendant Eugene Stoytchev is still awaiting appointment or retention of counsel.
         Case 2:11-cr-00434-RFB-PAL         Document 158      Filed 02/14/12     Page 2 of 8



 1          All parties would request a trial setting in October 2012.
 2
            2.     Initial Discovery Phase
 3
            The parties propose that the government shall have until February 16, 2012, to
 4
     disclose and provide the following:
 5
 6          a) the bulk of the statements, documents, and objects, including audio and video

 7          recordings, required to be disclosed under FRCP 16(a)(1)(A)-(F), including
 8          foreign language audio recordings, defense counsel may file a motion to request
 9
            minimization logs;
10
            b) all search warrants, orders authorizing the interception of wire, oral or
11
            electronic communications, supporting affidavits, that relate to evidence that may
12
13          be offered at trial.

14          3.     The Discovery Motions Schedule to Resolve Any Discovery Disputes
15          The parties acknowledge a duty to make good faith efforts to meet and confer
16
     with each other to resolve informally any dispute over the scope, manner and method of
17
     disclosures before seeking relief from the Court. A breach of duty to meet and confer,
18
19   by either party, may serve as a basis to grant or deny any subsequent motion for

20   appropriate relief made before the Court. If the parties are unable to agree or resolve

21   disputes after good faith efforts to do so, the parties propose the following discovery
22
     and non-discovery pretrial motions schedule:
23
            a)     Pre trial Motions, including notices of any defenses under Rules 12.1,
24
                   12.2 and 12.3, of the Federal Rules of Criminal Procedure, shall be filed
25
26                 on or before April 28, 2012;

27
28                                                2
     Case 2:11-cr-00434-RFB-PAL        Document 158       Filed 02/14/12     Page 3 of 8



 1     b)    Responses to Pretrial Motions to be filed on or before May 13, 2012;
 2
       c)    Replies to Pretrial Motions to be filed on or before May 18, 2012.
 3
 4
       4.    The Second Discovery Phase
 5
 6     The parties propose that NO LATER THAN 30 DAYS BEFORE TRIAL

 7     a)    the government will provide expert disclosures as required under Federal
 8           Rule of Criminal Procedure 16(a)(1)(G);
 9
       b)    the defendant will comply with his obligation to provide reciprocal
10
             discovery and provide all documents, objects and reports of examination
11
             required under FRCP 16(b)(1)(A) and (B). The defendant will provide
12
13           discovery pursuant to Rule 16(b)(1)c) concerning expert witnesses

14           NO LATER THAN 20 DAYS BEFORE TRIAL
15     5.    The Third Discovery Phase
16
       The parties propose that NO LATER THAN 10 DAYS BEFORE TRIAL:
17
       a)    the parties will disclose any summaries, charts or calculations that will be
18
19           offered in their respective case in chief at trial;

20     b)    the parties will identify recordings, transcript of recordings, or portions

21           thereof, that will be offered in their respective case in chief at trial, except
22
             for foreign language recordings and/or transcripts which defense counsel
23
             may file a motion to disclose to reduce the cost of defense.
24
       c)    the government will disclose any statements of witnesses under Title 18
25
26           United States Code, Section 3500, unless the government files a motion

27
28                                            3
         Case 2:11-cr-00434-RFB-PAL          Document 158        Filed 02/14/12   Page 4 of 8



 1                 for protective order under Rule 16(d)(1) at the times said statement is due
 2
                   herein; and
 3
            d)     the defendant will disclose any statements of witnesses the defendant
 4
                   intends to call in his case in chief.
 5
 6          6.     Issues on which agreement has not been reached

 7          Defendants shall file on or before $SULO, 2012, any and all motions
 8   relating to disclosure of reports or memoranda of interviews of witnesses the
 9
     government intends to call in its case in chief; and disclosure of all evidence or
10
     information known to the prosecutor that tends to negate the guilt of the accused or
11
     mitigate the offense pursuant to LR IA 10-7(a), which incorporates Rule 3.8 of the
12
13   Nevada Rules of Professional Conduct, effective May 1, 2006.

14          Defendants specifically reserve the right to file motions concerning the format
15   and nature of the video and audio provided in discovery including but not limited to
16
     requesting the government to produce a rough draft index.
17
            7.     Supplemental Motions
18
19          The parties agree that no supplemental motion can be filed upon a showing of

20   good cause as determined by the court. These motions shall be based on issues

21   unforseen to the parties at the time this agreement is filed.
22
            DATED this 2nd February, 2012.
23
24
     By: /s/ Chris Rasmussen                               IT IS SO ORDERED this 9th day
25      ______________________                             of February, 2012.
26      Chris Rasmussen, Esq.
        Attorney for Michael Vales                         _____________________________
27                                                         Peggy A. Leen
                                                           United States Magistrate Judge
28                                                 4
        Case 2:11-cr-00434-RFB-PAL         Document 158   Filed 02/14/12   Page 5 of 8



 1   By: /s/ Charles Kelley
        ______________________
 2
        Charles Kelley, Esq.
 3      Attorney for Bertly Ellazar

 4   By: /s/ Osvaldo Fumo
        ______________________
 5      Osvaldo Fumo, Esq.
 6      Attorney for Iavor Stoychev

 7   By: /s/ Timothy Vasquez
        ______________________
 8      Timothy Vasquez
        Assistant United States Attorney
 9
10
     By: /s/ Kalani Hoo
11      ______________________
        Kalani Hoo, Esq.
12      Attorney for Melanie Pascua
13
     By: /s/ Thomas Ericsson
14      ______________________
        Thomas Ericsson, Esq.
15      Attorney for Radu Lisnic
16
     By: /s/ Thomas Pitaro
17      ______________________
        Thomas Pitaro, Esq.
18      Attorney for Edelin Dimitrov
19
     By: /s/ James Hartsell
20      ______________________
        James Hartsell, Esq.
21      Attorney for Christopher Castro
22   By:    /s/ Benjamin Durham
23      ______________________
        Benjamin Durham, Esq.
24      Attorney for Manuel Garza
25   By: /s/ Xavier Gonzales
26   ____________________
      Xavier Gonzales, Esq.
27      Attorney for Eduard Petroiu

28                                              5
        Case 2:11-cr-00434-RFB-PAL        Document 158   Filed 02/14/12   Page 6 of 8



 1   By: /s/ Craig Drummond
        ______________________
 2
        Craig Drummond, Esq.
 3      Attorney for Ryne Green

 4   By: /s/ Herb Sacs
        ______________________
 5      Herb Sachs, Esq.
 6      Attorney for
             Evghenii Russu
 7           Delyana Nedylkova

 8   By: /s/ Eric Roy
        ______________________
 9
        Eric Roy, Esq.
10      Attorney for Vladimir Budestean

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     Case 2:11-cr-00434-RFB-PAL   Document 158   Filed 02/14/12   Page 7 of 8



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     Case 2:11-cr-00434-RFB-PAL   Document 158   Filed 02/14/12   Page 8 of 8



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